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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Welly Chandra, et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:18−cv−07686
                                                                      Honorable Thomas M.
                                                                      Durkin
BOEING INTERNATIONAL SALES
CORPORATION, a Washington State Profit
Corporation, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 14, 2020:


        MINUTE entry before the Honorable Thomas M. Durkin: Motion hearing held by
telephone on 12/14/2020 regarding motion for rule to show cause [842]. A civil contempt
is entered against the law firm of Girardi Keese and against Tom Girardi individually, for
the reasons stated on the record. Judgment is entered in the amount of $2,000,000.00, plus
interest, as to Girardi Keese and Tom Girardi, for the reasons also stated on the record. By
12/15/2020, parties are to submit a proposed order as to the appointment of a trustee. A
redacted copy of the under seal Girardi Keese filing [847] should be placed on the public
record. Any future filings made under seal should also be provided to Boeing. Keith
Griffin and David Lira are to file responses to the motion for rule to show cause [842] by
12/21/2020. Mailed notice. (ecw, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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